Case 2:18-cv-03893-RGK-AGR Document 86 Filed 06/24/19 Page 1 of 2 Page ID #:997



 1 Julie R. Trotter, Bar No. 209675
    jtrotter@calljensen.com
 2 Kent R. Christensen, Bar No. 253815
 3 kchristensen@calljensen.com
   Delavan J. Dickson, Bar No. 270865
 4 ddickson@calljensen.com
   CALL & JENSEN
 5 A Professional Corporation
 6 610 Newport Center Drive, Suite 700
   Newport Beach, CA 92660
 7 Tel: (949) 717-3000
   Fax: (949) 717-3100
 8
   Attorneys for Defendant 7-Eleven, Inc.
 9
10                                 UNITED STATES DISTRICT COURT
11                                CENTRAL DISTRICT OF CALIFORNIA
12
13 EDWARDO MUNOZ, individually and on             Case No. 2:18-cv-03893 RGK (AGR)
   behalf of all others similarly situated,
14                                                DEFENDANT’S NOTICE OF NON-
15               Plaintiff,                       OPPOSITION TO PLAINTIFF’S
                                                  MOTION FOR PRELIMINARY
16                     vs.                        APPROVAL OF CLASS ACTION
                                                  SETTLEMENT
17 7-ELEVEN, INC., a Texas corporation,
18                     Defendant.                 Date: July 15, 2019
19                                                Time: 9:00 a.m.
                                                  Place: Courtroom 850
20
21
22
                                                  Complaint Filed:       May 9, 2018
23                                                First Am. Comp. Filed: July 9, 2018
                                                  Trial Date:            July 2, 2019
24
25
26
27
28
     SEV05-13:2511617_1:6-24-19                 -1-
     DEFENDANT’S NOTICE OF NON-OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY APPROVAL OF
                                   CLASS ACTION SETTLEMENT
Case 2:18-cv-03893-RGK-AGR Document 86 Filed 06/24/19 Page 2 of 2 Page ID #:998



1             TO THE COURT, PLAINTIFF AND HIS ATTORNEYS OF RECORD:
2             PLEASE TAKE NOTICE that Defendant 7-Eleven, Inc. (“Defendant”) has
3 received Plaintiff’s Motion for Preliminary Approval of Class Action Settlement (the
4 “Motion”). Having reviewed said motion, Defendant does not oppose it.
5
6 Dated: June 24, 2019                    CALL & JENSEN
                                          A Professional Corporation
7                                         Julie R. Trotter
                                          Kent R. Christensen
8                                         Delavan J. Dickson
9
10                                        By: /s/ Julie R. Trotter
                                              Julie R. Trotter
11
                                          Attorneys for Defendant 7-Eleven, Inc.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     SEV05-13:2511617_1:6-24-19                 -2-
     DEFENDANT’S NOTICE OF NON-OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY APPROVAL OF
                                   CLASS ACTION SETTLEMENT
